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                     Kroll Restructuring Administration LLC Engagement Agreement

This Agreement is entered into as of August 5, 2022 between Kroll Restructuring Administration LLC
(“Kroll”) and the Official Committee of Unsecured Creditors (the “Committee”) appointed in the chapter
11 cases (the “Cases”) of Celsius Network LLC and its affiliated debtors (collectively, the “Debtors”)
pending before the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”) [Case No. 22-10964].

In consideration of the promises set forth herein and other good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged, the parties hereto agree as follows:

1. Services

        (a) Kroll agrees to provide the Committee with technology and consulting services regarding the
            Committee’s involvement in the Cases, including and not limited to noticing service, hosting a
            website, running a telephone hotline with no less than two dedicated operators, responding
            to inquiries from creditors through calls, chats and email correspondence, and any other
            services agreed upon by the parties or otherwise required by applicable law, governmental
            regulations or court rules or orders (all such services collectively, the “Services”).
        (b) The Committee acknowledges and agrees that Kroll will often take direction from the
            Committee’s representatives, employees, agents and/or professionals (collectively,
            the “Committee Parties”) with respect to providing Services hereunder. The parties agree
            that Kroll may rely upon, and the Committee agrees to be bound by, any requests, advice or
            information provided by the Committee Parties to the same extent as if such requests, advice
            or information were provided by the Committee.
        (c) The Committee agrees and understands that Kroll shall not provide the Committee or any
            other party with legal advice.

2. Rates, Expenses and Payment

        (a) Kroll will provide the Services on an as-needed basis and upon request or agreement of the
            Committee, in each case in accordance with the rate structure attached hereto and
            incorporated by reference herein (the “Rate Structure”); provided, however, that Kroll will
            extend to the Committee a discount of 20% off the hourly rates. The Committee agrees to
            seek reimbursement from the Debtors for reasonable out of pocket expenses incurred by
            Kroll in connection with providing Services hereunder.
        (b) The Rate Structure sets forth individual unit pricing for each of the Services. The Committee
            may request separate Services or all of the Services.
        (c) Kroll will bill the Debtors and the Committee no less frequently than monthly. The Debtors
            and their estates will be solely responsible for paying Kroll’s fees and expenses under this
            Agreement. The Committee shall use reasonable efforts to seek the payment of Kroll’s fees
            and expenses from the Debtors. In no event shall the Committee, its Members, or its advisors
            be obligated or responsible for the payment of Kroll’s fees and expenses under this
            Agreement. All invoices shall be due and payable upon receipt. Where an expense to be
            incurred is expected to exceed $5,000 (e.g., publication notice), Kroll may require advance or
            direct payment from the Debtors before the performance of Services hereunder. If any
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              amount is unpaid as of 30 days after delivery of an invoice, a late charge shall be due equal to
              1.5% of the total amount unpaid every 30 days.
        (d)   In case of a good faith dispute with respect to an invoice amount, the objecting party shall
              provide a detailed written notice of such dispute to Kroll within 10 days of receipt of the
              invoice. The undisputed portion of the invoice will remain due and payable immediately upon
              receipt thereof. Late charges shall not accrue on any amounts disputed in good faith.
        (e)   The Debtors shall pay any fees and expenses for Services relating to, arising out of or resulting
              from any error or omission made by the Committee or the Committee Parties.
        (f)   The Debtors shall pay or reimburse any taxes that are applicable to Services performed
              hereunder or that are measured by payments made hereunder and are required to be
              collected by Kroll or paid by Kroll to a taxing authority.
        (g)   Kroll reserves the right to make reasonable increases to the Rate Structure on an annual basis
              effective on the first business day of each year. If such annual increases represent an increase
              greater than 10% from the previous year’s levels, Kroll shall provide 30 days’ notice to the
              Committee and the Debtors of such increases.

3. Confidentiality

        (a) The Committee and Kroll agree to keep confidential all non-public records, systems,
            procedures, software and other information received from the other party in connection with
            the Services provided hereunder; provided, however, that if any such information was
            publicly available, already in the party’s possession or known to it, independently developed,
            lawfully obtained from a third party or required to be disclosed by law, then a party shall bear
            no responsibility for publicly disclosing such information.
        (b) If either party reasonably believes that it is legally required to disclose any confidential
            information (whether pursuant to an order from a governmental authority, regulatory
            request, subpoena, or similar process), such party shall provide written notice to the other
            party promptly after receiving such order, to allow the other party sufficient time to seek any
            remedy available under applicable law to prevent disclosure of the information.

4. Property Rights

Kroll reserves all property rights in and to all materials, concepts, creations, inventions, works of
authorship, improvements, designs, innovations, ideas, discoveries, know-how, techniques, programs,
systems, specifications, applications, processes, routines, manuals, documentation and any other
information or property (collectively, “Property”) furnished by Kroll for itself or for use by the Committee
hereunder. Fees and expenses paid by the Debtors do not vest in the Debtors or the Committee any
rights in such Property. Such Property is only being made available for the Committee’s use during and in
connection with the Services provided by Kroll hereunder.

5. Term and Termination

        (a) This Agreement shall remain in effect until terminated by either party: (i) on 30 days’ prior
            written notice to other party; or (ii) immediately upon written notice for Cause (as defined
            herein). “Cause” means (i) gross negligence or willful misconduct of Kroll that causes material


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              harm to the Committee’s efforts in the Cases, (ii) the failure of the Debtors to pay Kroll
              invoices for more than 60 days from the date of invoice or (iii) the accrual of invoices or
              unpaid Services where Kroll reasonably believes it will not be paid.
        (b)   If the Committee is terminated or disbanded, by Bankruptcy Court order, this Agreement will
              be considered terminated within 30 days of that date.
        (c)   If this Agreement is terminated after Kroll is retained pursuant to Bankruptcy Court order, the
              Committee promptly shall seek entry of a Bankruptcy Court order discharging Kroll of its
              duties under such retention, which order shall be in form and substance reasonably
              acceptable to Kroll.
        (d)   If this Agreement is terminated, the Debtors and their estates shall remain liable for all
              amounts then accrued and/or due and owing to Kroll hereunder.
        (e)   If this Agreement is terminated, Kroll shall coordinate with the Committee and, to the extent
              applicable, the clerk of the Bankruptcy Court, to maintain an orderly transfer of record
              keeping functions, and Kroll shall provide the necessary staff, services and assistance required
              for such an orderly transfer. The Debtors and their estates shall pay for such Services
              pursuant to the Rate Structure.

6. No Representations or Warranties

Kroll makes no representations or warranties, express or implied, including, without limitation, any
express or implied warranty of merchantability, fitness or adequacy for a particular purpose or use,
quality, productiveness or capacity.

7. Limitations of Liability

Except as expressly provided herein, Kroll’s liability to the Committee for any and all losses, claims,
damages, judgments, liabilities and expenses, whether direct or indirect (including, without limitation,
counsel fees and expenses (collectively, “Losses”), unless due to Kroll’s gross negligence or willful
misconduct, shall be limited to the total amount paid by the Committee for the portion of the particular
work that gave rise to the alleged Loss. In no event shall Kroll’s liability to the Committee for any Losses
arising out of this Agreement exceed the total amount actually paid to Kroll for Services provided
hereunder. In no event shall Kroll be liable for any indirect, special or consequential damages (such as
loss of anticipated profits or other economic loss) in connection with or arising out of the Services
provided hereunder.

8. Committee Data

        (a) The Committee is responsible for, and Kroll does not verify, the accuracy of the programs,
            data and other information it or any Committee Party submits for processing to Kroll and for
            the output of such information.
        (b) The Committee agrees, represents and warrants to Kroll that before delivery of any
            information to Kroll: (i) the Committee has full authority to deliver such information to Kroll;
            and (ii) Kroll is authorized to use such information to perform Services hereunder.
        (c) Any data, storage media, programs or other materials furnished to Kroll by the Committee
            may be retained by Kroll until the Services provided hereunder are paid in full. The Debtors
            and their estates shall remain liable for all fees and expenses incurred by Kroll under this


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            Agreement as a result of data, storage media or other materials maintained, stored or
            disposed of by Kroll. Any such disposal shall be in a manner requested by or acceptable to the
            Committee; provided that if the Committee has not utilized Kroll’s Services for a period of 90
            days or more, Kroll may dispose of any such materials, and be reimbursed by the Debtors for
            the expense of such disposition, after giving the Debtors and the Committee 30 days’ notice.
            The Committee agrees to initiate and maintain backup files that would allow the Committee
            to regenerate or duplicate all programs, data or information provided by the Committee to
            Kroll.
        (d) If Kroll is retained pursuant to Bankruptcy Court order, disposal of any Committee data,
            storage media or other materials shall comply with any applicable court orders and rules or
            clerk’s office instructions.

9. No Agency Relationship

The Committee and Kroll are and shall be independent contractors of each other, and no agency,
partnership, joint venture or employment relationship shall arise as a result of this Agreement.

10. Force Majeure

Whenever performance by Kroll of any of its obligations hereunder is materially prevented or impacted by
reason of any act of God, government requirement, strike, lock-out or other industrial or transportation
disturbance, fire, flood, epidemic, pandemic, lack of materials, law, regulation or ordinance, act of
terrorism, war or war condition, or by reason of any other matter beyond Kroll’s reasonable control, then
such performance shall be excused, and this Agreement shall be deemed suspended during the
continuation of such prevention and for a reasonable time thereafter.

11. Choice of Law

The validity, enforceability and performance of this Agreement shall be governed by and construed in
accordance with the laws of the State of New York.

12. Arbitration

Any dispute arising out of or relating to this Agreement or the breach thereof shall be finally resolved by
arbitration administered by the American Arbitration Association under its Commercial Arbitration Rules,
and judgment upon the award rendered by the arbitrators may be entered in any court having
jurisdiction. There shall be three arbitrators named in accordance with such rules. The arbitration shall
be conducted in the English language in New York, New York in accordance with the United States
Arbitration Act.

13. Integration; Severability; Modifications; Assignment

        (a) Each party acknowledges that it has read this Agreement, understands it and agrees to be
            bound by its terms and further agrees that it is the complete and exclusive statement of the
            agreement between the parties, which supersedes and merges all prior proposals,




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            understandings, agreements and communications between the parties relating to the subject
            matter hereof.
        (b) If any provision of this Agreement shall be held to be invalid, illegal or unenforceable, the
            validity, legality and enforceability of the remaining provisions shall in no way be affected or
            impaired thereby.
        (c) This Agreement may be modified only by a writing duly executed by an authorized
            representative of the Committee and an officer of Kroll.
        (d) This Agreement and the rights and duties hereunder shall not be assignable by the parties
            hereto except upon written consent of the other; provided, however, that Kroll may assign
            this Agreement to a wholly-owned subsidiary or affiliate without the Committee’s consent.

14. Effectiveness of Counterparts

This Agreement may be executed in two or more counterparts, each of which will be deemed an original,
but all of which shall constitute one and the same agreement. This Agreement will become effective
when one or more counterparts have been signed by each of the parties and delivered to the other party,
which delivery may be made by exchange of copies of the signature page by fax or email.

15. Notices

All notices and requests in connection with this Agreement shall be sufficiently given or made if given or
made in writing via hand delivery, overnight courier, U.S. Mail (postage prepaid) or email, and addressed
as follows:

        If to Kroll:               Kroll Restructuring Administration LLC
                                   55 E 52nd Street, 17th Floor
                                   New York, NY 10055
                                   Attn: Legal Department
                                   Tel:    (212) 257-5450
                                   Email: Legal@kbs.kroll.com

        If to the Committee:       White & Case LLP
                                   111 South Wacker Drive, Suite 5100
                                   Chicago, IL 60606
                                   Attn: Gregory F. Pesce
                                   Tel:   (312) 881-5360
                                   Email: gregory.pesce@whitecase.com

        If to the Debtors:         Celsius Network LLC
                                   121 River Street
                                   PH05
                                   Hoboken, NY 07030

        With a copy to:            KIRKLAND & ELLIS LLP
                                   601 Lexington Avenue
                                   New York, New York 10022
                                   Attn: Joshua A. Sussberg, P.C.
                                   Tel:    (212) 446-4800


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                          Email: joshua.sussberg@kirkland.com

                          KIRKLAND & ELLIS LLP
                          300 North LaSalle Street
                          Chicago, Illinois 60654
                          Attn: Patrick J. Nash, Jr., P.C.
                                 Ross M. Kwasteniet, P.C
                          Tel:   (312) 862-2000
                          Email: patrick.nash@kirkland.com
                                 ross.kwasteniet@kirkland.com




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IN WITNESS WHEREOF, the parties hereto have executed this Agreement effective as of the date first
above written.

 Kroll Restructuring Administration LLC

 /s/ Shira Weiner
 By: Shira Weiner
 Title: General Counsel



 The Committee

 /s/ Scott Duffy
 By: Scott Duffy
 Title: Authorized Signatory, ICB Solutions Inc.
        Co-Chair, Official Committee of Unsecured
        Creditors




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